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                             Exhibit 5
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                                              3809
     PIC/S 2016 Annual Seminar - Inspectorates of the Future
     Hosted by MHRA, Museum of Science and Industry, Manchester, UK (www.mosi.org.uk)
     6 – 8 July 2016.
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     Wednesday 6th July ‘Inspection trends and future developments’
     Time  Topic
     09.00 Welcome to Seminar – Head MHRA Inspectorate (M Birse)
           Opening addresses – Chief Executive MHRA & PIC/S Chairman (I Hudson / P Hargreaves)
           Introduction to Agenda – Head MHRA Inspectorate (M Birse)
     09.30 Inspections trends & GMP deficiencies – (P Gustafson)
                x Pre-seminar questionnaire – follow up from South Africa on trends
           Deficiency classification – TGA (WG on harmonization on classification).

     10.30   Break
     11.00   Data Integrity - Issues identified and inspection techniques MHRA & TGA (D Churchward)
                 x Note link back to anything in 09.30 slot
     11.45   Industry developments – Speaker from the GPMLF Global Pharmaceutical Manufacturers
             Leadership Forum orr Strathclyde University Grant people or Government speaker on
             pharmaceutical business trend (HPRA) - MHRA to arrange
     12.30   Lunch
     13.30   Workshop 1 – Inspection trends and inspection strategies for the future (link to 0930
             speakers +3-4 MHRA to support) P Gustafson + MHRA support
                 x Review and comparison of trends globally – output: new PIC/S article
                 x Use GPMLF GPS document to map gaps in inspector knowledge – output: for PIA to
                     use

             Workshop 2 – Data Integrity (link to 0930 speakers +3-4 MHRA to support)
             (TGA/FDA/MHRA) - MHRA to arrange once delegates known
                x Workshop showing practical examples of how to inspect
                x Gather additional techniques from group – output: for collation by drafting group
             Break
     15.00
     15.30   Workshop 1 – Inspection trends and inspection strategies for the future
             Workshop 2 – Data Integrity
     17.00   Close




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     Thursday 7th July ‘Inspectorates of the Future’
     Time   Topic
     09.00  Scene setter for day - MHRA to arrange
     09.10  Working together – TGA (H Rothenfluh) + EMA (P Krauze) or WHO
                 x PIC/S, ICMRA etc
                 x Reliance frameworks – maximising resources
                 x Information sharing – what needed and when
                 x Practicalities & legalities of Office/Desktop Based Inspections
     09.35  Risk based inspections – (J Morenas / Ian Jackson)
                 x Review of PIC/S approach
                 x Drivers and intel needed
                 x Whistle-blowers
            Pre-seminar questionnaire – MHRA to establish with session lead
     10.30  Break
     11.00  Compliance Management – FDA (S Laska/ E Morrison)
                  x Increase patient safety and security of supply
                 x What is done beyond inspections to drive compliance
                 x Pre-seminar questionnaire - MHRA to establish with session lead
     11.45  Shortages and complex supply chain – Industry speaker (supply chain shortages group) –
            MHRA to arrange
                 x Drivers for shortages / assessors view
                 x Increasing complexity / industry view

     12.30   Lunch
     13.30   Workshop 3 – Shortages EMA (P Krauze/Brendan Cuddy) + MHRA support
                x Presentation on practical examples
                       o Inspectors ‘role’ in reducing shortages / inspectors view
                x Greater understanding of work done in this area
                x Develop guidance documents
                x What can inspectors do – output: how PIC/S can promote work in this area

             Workshop 4 – Compliance Management FDA ( with MHRA Support)
                 x Workshop discussing what inspectors/agencies do now
                 x Develop what more could be done and what PIC/S could do
                 x Whistle-blowers, how handled
                 x Gather from group – output: proposals for PIC/S to develop
     15.00   Break
     15.30   Workshop 3 – Shortages
             Workshop 4 – Compliance Management
     17.00   Close




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     Friday 8th July ‘A New Dawn’
     Time     Topic
     09.00    Introduction
     09.00    PIA – Now & Next (Boon)
                   x Overview of PIA progress to all delegates
                   x What it will mean as an Inspector
     09.30    Workshop feedback (x4) – 15 mins each
              Chair HPRA (A Hayes) + leaders of the workshops
                   x Recap of key messages
                   x Proposed output and next steps
     10.30    Break
     11.00    Foreign Travel Safety Awareness (Harry TGA/ MHRA)
                   x Risk Assessments – proactive and dynamic
                   x Security Alerts
                   x Cancelling inspections
                   x Working with inspectors in country
     11.30    PIC/S Highlights and Vision to 2020 – Chair (P Hargreaves)
                   x Developed by EB members
                   x Highlights of WG and SC
     12.00    2017 Seminar address – Chinese Taipei
     12.15    Closing address & presentation of the PIC/S walking stick
                   x MHRA (M Birse)
                   x Chair PIC/S (P Hargreaves)
     12.30    Lunch or depart




     Workshop structure

         x   2 workshops with approximately 70 people (7 x round table of 10)
         x   Each workshop 1.5 hours long and then swap
         x   4 facilitators per workshop (MHRA to provide 2 Inspectors to support running of each
         x   Technology used to capture feedback for all teams for instant review – iPads etc and voting
             technology




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